Case 3:23-cr-00119-KAC-JEM   Document 71 Filed 12/13/24   Page 1 of 8   PageID
                                   #: 179
Case 3:23-cr-00119-KAC-JEM   Document 71 Filed 12/13/24   Page 2 of 8   PageID
                                   #: 180
Case 3:23-cr-00119-KAC-JEM   Document 71 Filed 12/13/24   Page 3 of 8   PageID
                                   #: 181
Case 3:23-cr-00119-KAC-JEM   Document 71 Filed 12/13/24   Page 4 of 8   PageID
                                   #: 182
Case 3:23-cr-00119-KAC-JEM   Document 71 Filed 12/13/24   Page 5 of 8   PageID
                                   #: 183
Case 3:23-cr-00119-KAC-JEM   Document 71 Filed 12/13/24   Page 6 of 8   PageID
                                   #: 184
Case 3:23-cr-00119-KAC-JEM   Document 71 Filed 12/13/24   Page 7 of 8   PageID
                                   #: 185
Case 3:23-cr-00119-KAC-JEM   Document 71 Filed 12/13/24   Page 8 of 8   PageID
                                   #: 186
